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IN THE CHANCERY COURT OF SHELBY CGUNTY, is
FOR THE THIRTIE'I`H JUDICIAL DISTRICT AT ' "

 

 

John L Bu!ioek
PIaintii£’Petitioner,

cASENo.CH zo--o°i \‘P »-¢

Vs. JURY DEMAND

WORLDS SAVINGS BANK, FSB

SENIOR VICE PRESIDEN'I` MARY C REEDER

TI-IE CH`Y OF MEMPHIS
PAMELA POPB JOHNSON
MELISSA PALO

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wACHole MORTGAGE )
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RESPONDENTS. )
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PETITION FOR AC"£`ION TO QUIET ’I`ITLE

 

PLAINTIFF’S/PETITIONER’S COMI'LAINT
…

To the Chanceliors of the Chancery Court for the Thirtieth ludicial Distriet comes now
.Iohnn L Buflock PIaintiE/Petitioner, making his special presentation fn Propria Persona, hereby
files this petition for action to quiet title against the Respondents with respect to certain lot and
landed real estate and in support thereof aver the following

PA.RTIES

1. Johzm L BuIlock, hereinafter known as the PlaintifIYPetitioner, is domiciled in Memphis,
Sheiby County, 'I`enaessee, and is the alieged mortgagor(s) of certain improved landed real
estate Iocated at [3336 Durford Wood Cove, Memphis, Tennessee 38128], Lot 63, Sectien A
Raleigh Heights Subd-ivision, as shown on Plat of record Book 59, Page f$, recorded in the
Register’s OH`xce of Sheiby County, Tennessee, Exhibit A, B and C instrument No.
07073545, 9?073546 and LG 69§2, alfegedly encumbered by a mortgage purported to be
owned andr’or serviced by the alleged hoiders in due course the Respondents for an alieged

Exhibit A and B are loan amounts of $78,’?50.00 and $15,750.00 for terms of 30 years
respectively

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‘ »' Case 2'10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 20f 58 Page|DB

3. The Respondent, Wachovia Mortgage, FSB, herein-sher known as the Alleged party of
lnterest, are organized under the laws of the United States and has its principle place of
business in San Antonio, Texas. The Plaintifi`/Petitioner would aver the party mention as

4. The Respondent, Senior Vice President, Maxy C R.eeder, hereinafter known as the Agent,
was an agent and employee of the Alleged party of lnterest. The Plaintiii`/Petitioner would
aver the Agent mention as having a claim of interest in the Plaintifi"’s/Petitioner’s fanded real
estate in fact has no legal right to any interest or claim and are not mentioned and were not
contracted With in the original contract We Would ask this party to provide documentary
proof of their claim of interest in the PIaz`ntiii"s/Petitioner’s landed real estate.

(30 year mortgage transaction), is in contravention to the rules of law under which it is
geverned? (The Statutes at Large, rPreaties, and Proelamations of the United States of America
(t`rom Decernber 1863 - Deceniber 1865), Volume 13, 38“’ Congress, Session l, Chapters 194,
196, & l07, Pages 99-118.)

RULES G()VERNING HOLDING OF REAL ESTATE, “And he it further enacted, such
associations shall not purchase or hold real estate in any other case or for any other purpose

than as specified in this section Nor shall it hold the possession of any real estate under

~ ‘ - ~ ~ *_*.v.vm*..'>.~>r\.m'-mw~vm'w-w- a ~ -.\. -. m ., _ .

H t ang..`,.N.\wymanvg~>,-\H'.\-\~\-~,-vw-W-w.--M wang v v

 

».~.".~_~V-m»t

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mart a c or hold the title and assessing of an real estate urehased to secure debts

due to it for a longer geriod than five years.” (Section 28, page 108);

'l`l:ie Piaintift`/Petitioner, aver by the terms of the contractual conveyance, the original instrument
deed of trust states on the bottom of page 7 of 16; “l$.Governing Law of Severability.
Governing Law,' Severabilit_v_ -» 'i`his Securig fnstrument and the secured notes shall be
governed h and construed under federal law and federal rules and lations includin
those for federa chartered savin institutions “Federal Law” and to the extent
Federal law does not a b the law of the ’urisdiction in which the Pro _ is Iocated.
"l`his insu~tunent is recorded in die chistcr’s Otiice ot` Shelby County, 'l`ermessee Exhibit A and
B.

   

          

JURISDICT!ON AND VENUE
OBL{GATIONS OF STATE COURTS:
------_-~…

'I`he PlaintiiT/Petitioner avers jurisdiction is proper for this Honorabie Chancery Court due to the
allegation of contractual commercial mortgage fraud disputing the validity of the original
security instrument and pursuant to tile terms and conditions governing this security instrument;
Artz‘cle 8 Ung’farm Commercial Code (UC.C.) § 3-110: Applicabilily; Chaice ofLaw--- “(a)
The local law of the issuer’s jurisdiction as specified in subsection {d) governs: (1) The validity
of a security; (b) The focal law of the securities intermediary‘s jurisdiction as specified in
subsection (e), governs: ...(4) Whether au adverse claim can be asserted against a person who
acquires a security entitlement from the security intermediary of a person who purchases a
security entitlement or interest therein from an entitlement holder; (c) The local law of the
jurisdiction in Which a security certificate is located at the time ofthe delivery governs whether
an adverse claim can be asserted against a person to Whom the security certificate is delivered;”
The terms of the contract state the foilowing;

“It is an admitted principle, that a court of law has concurrent jurisdiction With a court of
chancery, in cases of fraud.”

U.S. Supreme Court GREGG, BY CRAIG v. SAYRE’S LESSEE, 33 U.S. 244 (1834)

Page 7 of 16; “IS,Goveming Law of Severability. Goveruing Law; Severabtli§y - lists
Securi§g Instrument and the secured notes shall be governed b and construed under
federal law and federal rules and re lations includin those for federa chartered
savin institutions “Federal Law” and to the extent Federai.law does net a b the

law of the jurisdiction in Which the Progel_'_ty is located. This instrument is recorded in the

Register’s Otiice of Shelby County, 'l`ennessee Exhibit A and B.

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'I'he United States Supreme Court: State coorts, like federal courts, have a “constitutional”
obligation to safeguard personal liberties and to uphold federal law. Stone v. Powell 428 US 465,
96 S. Ct. 3037, 49 L. Ed. 26 1067.

 

"I`l:te United States Supreme Court: 'l`hc obligation of state courts to give full effect to federal law
is the same as that of federal courts New York v. Eno. 155 US 89, 15 S. Ct. 39, 39 L. Ed. 80.

'I`Iie United States Supreme Court: An administrative agency may not finally decide the limits of
its statutory powers; this is a judicial function Social Security Board v. Nierotko. 327 US 358, 66
S. Ct. 637, 162 ALR 1445, 90 L. Ed. 719.

AFFIDAVIT OF FACTS

 

l. 'l`lxe Plaintiii`/Petitioner avers, lie has personal knowledge of the facts contained herein
and veill assert his Real Dei`ense remedy in contract against the Conipany, their Agent(s),
the Alieged party of interest, and the Alleged party of interest 2 for fraud in the factual
that breaches the commercial mortgage contract and the debt obligation of the obligor,
The PIaintiti'/Petitioner also alleges a further_breacli in that lie did not receive a proper
copy of the security hrstrurnent and note as promised by the original contracts Exhiblt A
and B. Thc Plaintiii}’l’etitioner received a copy instead of a conformed copy as required
under the terms and conditions of the original contractual conveyances Exhibit A and B.
lite PlaintiftYPetitiouer will allege violations of the following Prirna Facie laws
governing the contractual obligations of Exlu'bit A and B;

Article 3 U.C.C. § 3-305. Defenses and claims in recoupment~»-- “(a) Except as stated in
subsection (b), the right to enforce the obligation of a party to pay an instrument is subject to
the following (l) a defense of the obligor based ori: ...(ii) duress, lack of legal capacity or
illegally of the transaction WHICH. UNDER OTHER LAW. nullifies the obligation of the

obligor, (iii) fraud that induced the obligor to sng the instrument with neither knowledge nor
reasonable opggttuni;y to learn of its character or its essential terms;”

’I`ennessee Code Annotated (T.C.A.) 47“3~3(15 Defeoses and claims in recoupment--~ “(a)
Except as stated in subsection (b), the right to enforce the obligation of a party to pay an
instrument is subject to the following (l) a defense of the obligor based on: ...(ii) duress, lack
of legal capacity or illegality of the transaction WHICH. UNDER OTHER LAW. nulliiies

the obligation of the obligor; {iii) fraud that induced the obligor to si@ the histrunient with

neither knowledge nor reasonable opportunity to learn of its character or its essential tenns;”

 

 

T.C.A. 47-18-»104 Unl`air or deceptive acts prohibited--- “(a) Unfair or deceptive acts or
practices aHecting the conduct of any trade or commerce constitute unlawful acts or practices

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and are Ciass B misdemeanors.” (b) Withoot limiting the scope of subsection (a), the
following unfair or deceptive acts or practices affecting the conduct of any trade or commerce
are declared to be milawful and in violation of this part: ...(12) Representing that a consumer
transaction confers or involves rights, remedies or obligations that it does not have or involve

or Which are grohibited by law.”

2. The Pi`aintiWPetitioner aver the basis for position is due to tile continued use, by the
Company, their Agent(s), the Aileged party of interest and the Aiieged party of interest 2
of the originai negotiable institunent, Deed of Trust, Exhibit A and B, breached
commercial mortgage contract and a 350-year mortgage transaction deemed to be
;§‘audulent by the PlaintiMPetitioner. All of which are activities affecting interstate and
foreign commerce, in an attempt to enforce an iliegal and uniawiiii- fraudulent debt
obligation The following case laws are oE`ered in support that fraud destroyed

everything contractually associated with the original negotiable instrument Exhibit A and
B:

 

“Bad faith and fraud are synonymous and also synonymous with dishonesty, infidelity,
faitbiessness, pertidy, unfairness etc.”

Joiner v. Joiner, ’I`ex. Civ. App., 87 S.W. 26 903, 914, 915.

“Fraud, as applied to contracts, is the cause of an error bearing on a material part of the
conu'act, created or continued by artiiice, with design to obtain some unjust advantage to
the one party, or to cause an inconvenience or loss to the other.”

Civi} Code La. Art. 184-7. Strauss v. fnsurance Co. of North America, La. 661, 192
Se. 861, 865; Jesse Freneh Pi-ano & Organ Co. v. Gibbon, Tex. Civ. App., 180 S.
W. 1185, 1187.

"Fraud destroys the vaiidity of everything into which it enters."
Nudd v. Burrows, 91 US 426; NUDD v. BURROWS, 91 US 426 (1875) -- US

Supreme Court Cases from NUDI) v. BURROWS, 91 US 426 (1875) NUDD
ET AL. v. BURROWS, ASS¥GNEE. O'ctober 'I`erm, 1875.

3. The PlaintiH`/Petitioner avers the Company, their Agent(s), the Alleged party of interest and

the Alieged party of interest 2 are not the hoiders in due course of the original negotiabte
instrument deed of trust Exhibit A and B, deemed by the Plaintift)'Petitioner as voidable by
law due to a breach in the agreement and the fact this security institutith (30 year mortgage
contract) Was conveyed contractuaily for a period longer than 5 years, in direct contravention
of the federal and state laws of Whici'i it is governed

. file Plaintiif/Petitioner avers the negotiable instrument contractual conveyance was brought

into existence on Aprii 27, 2007 with the date due and payable on May l, 2837, of which tire

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Respondents are claiming to be holders in due course was breached When the
Pla.intif£/Petitioner received a non~confonned copy instead of a conformed copy of the
security instrument and the fact a 30 year mortgage transaction is in direct contravention of
the following federal and state statutes; The Statotes at Large, "freaties, and Proclamations of
the United States of America (&orn Decernber l863 »»~ December 1865), Volurne 13, 38th
Congress, Session I, Chaptcrs 104, 106, & l07, Pages 99-118, 15 United States Code
(U.S.C.) Chapter 41, Subchapter V § 1692 (e), (l) & (g), 18 U.S.C. Part I, Chapter 63 § 1344,
18 U.S.C. Part I, Chapter 96 § 1961, 18 U.S.C, Part I, Chapter 96 § 1962 (a) and (b), Artiele
3 U.C.C. § 3-305 (a) l; 'l`ennessee Code Annotated ('I`.C.A.) Title 28 Chapter 14 § ll@;
T.C.A. 'l`itle 29 Cl'zapter 14 § 103; T.C.A. Title 47 Cizapter 3 § 305 (a) 1; T.C.A. Title 47
Chapter IS § 104 (a) (b) 12; and deemed legafly voidable by the PlaintiWPetitioner.

The Pla.intiWPetitioner avers the petition for action to quite title provides him with a Real
Defense remedy in contract against the alleged holders in due course due to the mortgage
conveyances contractual break down, breach, and his lawful right to challenge any and all
disqtn`eting claimsh The Piaintit`f/Petitioner should be allowed continued possession and use
of his landed real estate in accordance with his Pararnount "£`itle (Warranty Deed) Exhibit C.

The Plaintiff/Petitioner avers he is the owner of a more Pararnoont Title (Warranty Deed)
Exhibit C, Which specifies ownership is in fee simple forever for the above mentioned Plat
assigned by their more Pararnount Title, Warranty Deed, LG 6912, registered With the Shelby
County Register’s OHice, Exhibit C.

'I'he Plaintiti`fPetitioner avers his Warranty Deed Exhibit C states, “Lot 63, Section A, A
Raleigh Heights Sobdivision, Plat Book 59, Page 13, recorded in the chister’s {)Hice of
Shelby County, Tennessee,” under instrument No. LG 6912 and timber state the property
was conveved to him the PlaintiH/Petitioner, “With all the apgurtenants and hereditaments
thereunto belonging or in env Wise a `ertainin onto the Grantee. Grantee’s heirs and

assiBsz in fee simple forever

The Plaintiff/i’etitioner avers there are no encumbrances and the deed specifies, “the title and

quite possession Grantor warrants and will forever defend against the lawtill claims of all
gersons.”

ARGUMENT

The Plaintitl"fl’etitioner avers he is the legal and lawn.xl possessors, occupier, owner, and
holder of the bona fide title and have absolute right of possession and right to interest in the
landed real estate located at [3336 Durford Wocd Cove, Mernphis, ’I`ennessee 38128], Lot
63, Seetio:n A Raleigh Heights Subdivision, as shown on Plat of record Book 59, Page 13,
recorded in the Register’s Oftiee of S-helby County, Tennessee Exhibit C. Due to fraud in the
factuna and a breach of contract based on the fact a proper copy of this security instrument
Exlzibit A and B Were not received at signing

'l`he Plaintifl`/Petitioner avers the Colnpany, their Agent(s), the Alleged party of interest, and
the Alleged party of interest 2 are attempting foreclosure actions based on the original
negotiable insn'urnent deed of trust a 30 year commercial mortgage transaction deemed to be

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breached and voidable by the PlaintifUPctitioner according to the federal and state laws
governing the original contract in question Exhibit A. Tlie Plaintiff/Petitioner shall show this
Houorable Chancery Court and a lury that no valid defeasance exits to lawfully and legally
deprive the Plaintifi}'Petitioner of the absolute right, occupation use, and quite enjoyment of
his landfproperty.

ll. "l`he PlaintiNPetitioner aver the C'olnpany, their Agcnt(s), the Allcged party of interest and
the Alleged party of interest 2, have no legitimate business interest or clairn to the
Plaintift’ s/Petitioner’s landed real estate due to tire breach of contract and fraudulent nature
of the original negotiable instruman deed of trust Exhibit A and B, 30~year commercial
mortgage transaction which violates the aforementioned Statntes at Large, 'l`reaties., and
Procisrnations of the United States of Anzerica (tl‘om Dccernber 1863 ~ Decelnber 1865),
Voltune 13, 38”’ Congress, and Prima facie laws ~ Uniforrn Cornmercial Code (U.C.C.),
Unitcd States Codes (U.S.C.), and Tenncssee Code Annotated (T.C.A.).

12. The Plaintitl`/Petitioner avers due to the fraudulent nature the original deed of trust and note
brought into existence on April 25, 2007 and breached thereafter; that he is now the sole
legal owner, possessor and holder of his property by possessing the only Bona Fide Warranty
Deed and Title to his landed real estate located at [3336 Durford Wood Cove, Mernpbis,
'I`ennessce 38128], Lot 63, Section A Raleigh Heights Subdivision, as shown on Plat of
record Boolr 59, Page l3, recorded in the Register’s OHice of Shclby County, Tennessce
Exliibit C.

13. Thc Plaintiff/Petitioner avers by virtue of the contractual conveyance in fcc simple forever
from Williant F. Hakes and Mary Lou Hakes, of which a copy of said Warranty Deed and
Title are located in the Register’s Otticc of Shelby County, rl`cnnessee,, instrument number,
Exliibit C, LG 6912 and predates the Original Deed of Trust making the PlaintitT`/Petitioner
the Paranaount Title holder and owner to his landed real estate

14. The Plaintif£/Petitioner would demand answers to the interrogatories depositions for
disclosure, and discovery propounded by the PlaintiHYPetitioner to verify any and all claims
of interest to the landed real estate, purportedly held by the Colnpany, their Agent(s), the
Alleged party of interest and the Alleged party of interest 2, pursuant to Rule 33 of the
'l`ennessee Rules of Civil Proccdnre *~ lnterrogatories to Partics, and pursuant to the rules of
the Chancery Court of Snelby County, Terrnessee, Thirtietb ludicial Distn`ct; Rule 26 -
hitcrrogatories which if provided will validate the PlaintiH"s/Petitioncr’s claim against the
Cornpany, their Agent(s), the Alleged party of interest, and the Alleged party of interest 2.

15. The Plaintitf/Pctitioner avers in acting fraudulently and deceitfully as set forth hercin., the
Company, their Agent(s), the Alleged party of interest, and the Alleged party cf interest 2
acting jointly and severally, and intending too and did vex, annoy, and injure the
Plainti$l’etitioner by violating the federal and state statutory laws governing the original
commercial mortgage contract Bxlri-bit A and B, and are attempting to continue the
enforcement oftbis illegal fraudulent debt obligation

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16. The PIaintif£/’Petitioner avers the Cornpany, their Agent(s), the Alleged party of interest, and
the Alleged party of interest 2 are attempting to enforce the above mentioned illegal
fraudulent debt obligation, the violations of which were either singularly or combined one
with another and Were the direct and proximate cause of the malicious permanent, public,
private and real injuries complained herein

REMEDY REQUEST BY THE
PLAINTIFF/PETITIONER
l7. The I’laintiff/Petitioner avers due to the fraudulent nature of the ori ` al commercial
contractual ccnv ances Exhibit A and B 30 ear mart a e transaction and the fact the
ori ` al contract was breached due to the Plaintifi’s/Petitioner’s recei t of a non-
conformed co at the time of his endorsement endorsement A ril 25 2007. 'I`he
Plaintijf/Petitiooer would demand an o ortuni to ins eat and co the cri ‘ al
conformed co ' of this note and of this secnri instrument in accordance with the
terms of the ori ' al contract located on p_a_ge 8 of 16 ofj_he orig;,n__' al contract in a
section numbered and entitled “16. Borrowers Co .” and nrsnant to Rule 33 of the

'I‘ennessee Rules of Civil Procedure and'Federal Rule of Civil Procedure 34.
…

18. The PlaintitWPetitioner avers by the terms of the original commercial mortgage contract he
should have been given a conformed copy; which by case law and definition is one where a
clerk of the court makes notations and/or a judges’ signature is affixed to the instrument

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19. The Plaintifl`/Petitioner avers he would demand a copy of any and all documents related to
commercial mortgage negotiable instrument no. 97073545 and 07(}73-546 on file in the
Dtiice of the Register of Deeds for Shelby County, 'l`eonessee allegedly held by the

Cornpany, the Alleged party of interest and their Agent(s) associated with this contractual
conveyances

20. The Plaintiff/Petitioner avers he discharged any and all commercial mortgage contractual
obligations and rescind any and all signatures in reference to the commercial mortgage
contracts due to the lack of legal proof of the fraudulent debt obligation and the Cornpany,
their Agent(s), the Alleged party of interest, and the Alleged party of interest 2 condoned use
of the fraudulent and breached original negotiable instrument, deeds of trust Exhibit A and B
to enforce an illegal and unlawful fraudulent debt obligation

 

Zl. 'l`he Piaintith’Petitioner avers in the event the Cotnpany, their Agent(s), the Alleged party of
interest, and the Alleged party of interest 2 are able to verify the validity of this debt
obligation; the P'laintiff/Petitioner promise to work out reasonable payment methods an_dfg;
will nav the fraudulent debt in full.

wm

Whe-refore;

22. 'l`he Plaintifi`/'Petitioner prays this Honorable Chancery Court mile in their favor and against
the Coznpany, their Agent(s), the Alleged party of interest., and the Alleged party of interest 2
and enter an order for a default judgnent with prejudice awarding the Plaintifi}'l’etitioner

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with his remedy so requested in addition the Plaintiif!l’etitioner would request
reimbursement and restitution for any court cost and Attorney fees associated with preparing
this cause of action suit.

23. The PiaiotiE*’Petitioaer prays this Honorable Chaneery Couit instruct the Company, their
Agent(s), the Aileged party of interest, and the Alleged party of interest 2 to verify the
validity of this debt obiigation by providing the PlaintiH/’Petitioner With the bona Hde
conformed copy of this debt obligation for both inspection and for the PiairitiYPetitioner to
ascertain a copy for his records as promised under the terms and conditions of the original
commercial mortgages contractua§ obligation E-xhibit A and B. (Pursuant to the Tenziessee
rules of civil procedure 33 hiterrogatories and the federal rule of civil procedure 34)

»`“`»\~`~.NW~»~»WM~\~`M~<-Wwe w-\iiiw\.-,,-~,-e ., ,._ _. _. .. .i_ .

24. The Plaintif§?eddooer prays this Honorabie Chancery Coort grants the removal of any and
all clouds on his title and grant any other such relief as appropriate related to this suit in
equity pertaining to the landed real estate iocated at [3336 I)urford Wood Cove, Mernphis,
Tennessee 38128], Lot 63, Sectioo A Raleigh Heights Subdivision, as shown on Plat of
record Book 59, Page 13, recorded in the Register’s Oflice of Shelby County, Tennessee.

cy-;~y~y-g-eyw:_w"w-.m-",.»\» ,»\

Johnn L Buliock
3336 Burford Wood Cove
Merophis, Teo.oessee 38128
901-386-1788

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DICTIONARY TERMS IN SUPPORT OF PLAINTIFF’S/PETITIONER’S COMPLAINT
--»__.~………____
BARRON’S LAW DICTIONARY FIFTH EDI'I'I()N
The Piaintiff/Petitioner aver igg!orance of the law does not jusiify the act by definition

Ignoraoce - lack of knowledge Igno-rance of the law does not justify an act since every
person is presumed to know the iaw.

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Ig-norantia legis non excusat - Lat: ignorance of the law is no excuse, i.e. the fact that the
defendant did not think his act was against the law does not prevent the law from
punishing the prohibited act.

Conformed Copy - an exact copy of a documeot, often certified to be so by a clerk of a
court, with handwritten notations duplicating those of the original document Thus an
order may have the date, precise terms, and signature of the judge written by hand on
another copy of a proposed order which had not been signed This then becomes a
conformed copy of the order which was eompieted and signedrl? the court

BLACKS LAW DICTIONARY, REVISED 4 EDITION

Covcnant of Quiet Enjoymcnt ~ A covenant, usuain inserted in leases and conveyances

on the part of the grantor, promising that the tenant or grantee shail enjoy the possession of the §
premises in peace and Withoot disuirbarice.

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< Case 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 10 of 58 Page|D 13
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Cevenant of Warran-ty ~ An assurance by the grantor of an estate that the grantee shall
enjoy the same without interruption by virtue of a paramount title

Fee Simple (American iaw) - An absciute or fee~simple estate is one in which the
owner is entitled to the entire property, with unconditional power of disposition during his life
and descending to his heirs and legal representatives upon his death estate

Paramount Title -» In the few of real property, properly one which is superior to the title
which it is compared, in the sense that the former is the source of origin of the latter. It is,
hcwever, §'eqoently used to denote a title which is simply better or stronger than another, or will
prevail over it.

Quite - To pacify; to render secure or unassailable by the removal of disquieting causes
or disputes This is the meaning of the Word in the phrase “`»_.-_¢_n a Wgw__g___ ” which is a

proceeding to establish the Plaintiti”s title to land by bringing into court an adverse claimant and
there comprehng him either to establish his claim or be forever alier stopped from asserting it.

 

Title - The union of ali the elements which constitute ownership

Warranty Beed - Orte which contains a covenant of warranty

MEMORANDUM OF LAW IN SUPPOBT OF PLAINTIFF’S/'PETITIONER’S
COMPLAIN'I`

Covenant of Warranty - King v. Kil‘oride, 58 Conn. 109, 19A. 519. Blair v Morris, 212 Ala. 91,
101 So. 745, 746.

Fee Simple (Americao Law) - Siayden V. Ha,rdin, 257 Ky. 685, 79 S.W. 2d ll, 12.

Param-ount Titie - Hoops v. Meyer, 1 Nev. 444. Jones & Brindisi, fnc., V. Bemstein, 119 Misc.
Rep. 697, 197 N.Y.S. 263, 265,

Qu'ite Titie - Wright v. Mattison, 18 How. 56, 15 L. Ed. 280.
'}`itie -» Carroll v. City ofNewark, 108 N.J.L. 323, 158 A. 458, 46}.

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1 Cas'e 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 11 of 58 Page|D 14

Certificate of Service

 

I, Iohnn L Bullock, Plaintiffjl)etitioner, do hereby certify that a copy of the foregoing
petition for action to quiet title Wes delivered via the Secretary of the State of Temtessee, to
Worlci Sevings Bank, FSB 4101 Wiseman Bouievard, San Antooio, TX 78251, to Wachovia
Mortgage, FSB located at 4101 Wiseman Boulevard, San Antonio, YX 78251 and THE CI'I“Y
OF MEMPHIS, and their Ageots Lioeberger Goggan Bleir & Sarripson, LLP, One Commerce
Sqoare, 40 Soutlz Mairi Street, Suite 2250, Memphis, Tennessee 38103, C/O Pamele Pope
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IN 'I`HE CHANCERY COURT OF SI~[ELBY COUNTY,
FOR THE THIRTIETH JU`DICI.AL DISTRICT AT M

lohn L Bullock
Plainti§`f'?etitioner,

VS.

WORLDS SAVINGS BANK, FSB

SENIOR VICE PRESIDENT MARY C REEDER

'I`HE CI'I`Y OF MEN£PHIS
PAi\/IELA POPE }OHNSON
MELISSA PALO

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CHANCERY COURT EXHIBIT TABLE OP CONTENTS

1. World Savings Bank, PSB, Instrument 07073545
2. Worid Savings Bank, FSB, lnstrurnent 67073546
3. Warranty Deed, hist:rument LG 6912
4. Notice of Transfer of Moztgage Letter §

5 . Notice of Transfer of Mortgage Letter 2

Iohnn L Bullock
3336 Durford Wood Cove
Memphis, Tennessee 38128
901-386-1788

E!hibit A

Exhibit B

Exhibif C

Exhibit D

Exhibit E

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Case 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 13 of 58 Page|D 16

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Certificate of Service

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petition for action to quiet title Was delivered via the Secretary of the State of Termessee, to
World Savio.gs Bank, FSB 4101 Wiseoian Boulevard, San Antortio, TX 78251, to Wachovia
Mortgage, FSB located at 41{)1 Wiseman Botzlevard, San Antonio, TX 78251 and THE CITY
OF MEMPHIS, and their Agents Linebarger Goggan Blair & Sampson, LLP, One Commerce
Square, Suite 2250, Memphis, tennessee 38103, C/O Pameia Pope Joimson and Melissa Palo, L

sss 19”‘ say OrMay, 2010.

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C ~ Ocument 1-1 Filed 06/24/10 Pago 42 of 58 Page|D 45
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Ootobor 95, 2&09 Wachovia Loan Number: 09459§§§§§§?“}‘ §§

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John L Bullook
3336 Durford Wood CV
Memphis, m 38123 3426

Re: Notice of Transfor or Mortgage
Dear John L Bullock

We'ro writing to provide important information about a transfer of
ownership on the mortgage referenced above.

~W\~

According to recently enacted federal £aw, each "new owner" of a mortgage
is required to send a notice regarding any transfers of ownershlp.

Please understand that these transfers are a normal business practica,\
and they do not affect any of the terms of your mortgage or the aervicing
of your mortgage.

On October 2, 2009, Wachovia resumed ownership of your mortgage and is
therefore considered a “new owner " Waohovia continues to be the
servioer of the mortgage. This notice does not change the servicing of
your mortgage. Due to the nature of the previous transfer, a transfer of
ownership of the debt was not recorded and is not required to ef£act

the transfer back to Wachovia.

 

 

Should you have any questions, we can be reached as follows:

..”-"-:"”W. . ~`

Wachovia Mortgago
4101 Wiseman Blvd
San Antonio, TX 78251

 

You may also contact our Customer Servioe Center at 800*642*0257. A
representative is available to assist you Monday through Friday, 9:00
a.m. to 9:00 p.m., and Saturday, 9:00 a.m. to 6:00 p.m., Eastern Time.

Customer Sorvice
Loan Service Dopartment

 

QA988 006 LAV

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`Case 2'101Cv102482-SHM-cgc Document 1-1 Filed 06/24/10 Pag)e_`43 of 58 PagelD 46

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Ooiober 14, 2009

832437 LWQ1 1262 tWHHDS
W JoHN suu_oci<

§ 3336 ouRFORo Wooo cv
W MEMPHis TN 33123~3426

Re: XXXXX50946

Doar Customer:

As you may have heard, Wachovia Co`rporation, the parent Co-mpany of Wachovia Morlgage,
FSB, is now part of Welis Fargc) & Company. As a result subjec€ to regulatory approvai, on
Novemher i, 2009, Wachovia Mortgage, ESB, wiil merge with Woiis ffargo Ban._it, N.A. and
become Wachovia Mo'rtgage, a division of Woiis Pargo Bank, N.A.

'l‘hi.'s change will not affect any terms or conditions of the mortgage, including the account
number and payment amount Payment processing wii! remain the same and payments can
continue to be made 10 Wachovia Mortgage through normal payment method(s).

As we complete this integration, our goai is to maintain the highest level of garvice for both
the mortgage foam and other accounts We appreciate your business and iook forward 10

have any questions~about this morgsr“or tire ssrvfcmg‘of 'zhe'ioah, pme'taii usaf "
80<)642~0257 Monday through Friciay, 9 a.m. to 9 p.m., and Saturday, 9 a.m. to 6 p.m., E'i`,

Sincoreiy,

Mary C. Roedor
Senior Vite Presidont
Wachovia Mortgage

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IN THE CHANCERY COURT OF SHELBY COUNTY

FOR "I"HE THIRTIETH HJ`DICLAL DISTRICT AT

 

 

John L Bu}lock
Piainti@*l’etitioner,

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CASH No. on £<'>““ O¢E[(”

Vs. }URY DEMAND

WORLDS SAVINGS BANK, FSB

SEN!OR VICE PRESIDENT MARY C REEDER

’I`HE CITY OF MEMP}HS
PAMELA PGPE .IOHNSDN
MELISSA PALO

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§
WACHOVIA MORTGAGE )
)
)
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)
§
RESPONDENTS. )
)

 

INTERROGATORIES PROPOUNDED BY PLANTIFF

 

Respondents/Defendants Intenogatories
Pursuant to Tennessee Civil Rule of Procedure, Section 33 ~ hlterrogatozies to parties and local
Shelby County, Chancery Rule - 26.

INTERROGATORIES TO PARTIES
I. Interrogatory NAME OF ALLEGED DEBT COLLECTGR/CREDITOR?
2` lnterrogatory Address of alleged Debt Collector/Creditor?

3. lntexrogatory Correct Lawfizl Name of living Bcing, alleged Debtor/Obligo;?

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lnteo'ogatory Is Wachovia Mortgage, FSB required to register with the United
States Departmeot of 'l`reasury as a financial lnstitution? ........................................................
Interrogatory Will you please provide the Documents that certify that Wachovia

Mortgage, FSB is a financial institution registered with the federal government through the
Um'ted States Department of Treasury

lnten'ogatory Has Wachovia Mortgage, FSB exchanged the alleged conformed
note for bonds from the United States 'l`reasury?

lnterrogatory Have the directors of Wachovia Mortgage, FSB sworn an oath to
follow the laws governing Banks which are The National Baok Act Statutes at large Public
Laws of Uaited States Congrcss Published at Volurne l3, 38th Congress Stat 99~118?
lnterrogatory Will you please provide a certified copy of the oath of office for
any and all Wachovia Mortgage, FSB employees responsible for assigning any and all deeds
of trust related to instrument 07073545 and 07973546?

..................................................................................................

Interrogatory ls Wachovia Mortgage, FSB aware they are in violation of the
statutes at large in any manner?

.....................................................................................................................

Interrogatory ls the conformed note and mortgage seconty interest lien in this
contract for more than 5 years?

Interrogatory And if so how long is the mortgage?
lntexrogatory ls Wachovia Mortgage, FSB aware that pursuant to the above
federal law any mortgage longer than 5 years is unlawful?

.........................................................................

lnterrogatory Is Wachovia Mortgage, FSB aware that according to the Original
Note they are not the Owner of the Property?

lnterrogatory Are you Waciiovia Mortgage, FSB aware that violating any pan of

nw stems ar large 33”’ congress 1364, volume 13, star 994 18 ear your financial
institution can be shutdown?

..................................................................................................................

Interrogatory Will you please provide a list of the directors or agents of
Wachovia Mortgage, FSB responsible for any and ali deed of trust assignments regarding

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Case 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 46 of 58

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Page|D 49

negotiable instrument, 07073545 and 07073546?

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loterrogatory Address of alleged Debtor/Olzligor:

lnterrogatory Alleged Account Nurnber{s):

lnterrogatory Alleged debt owed:

$ .............................................................................................................
lnterrogatory Date alleged debt became payable:

Interrogatory What is the name and address of the alleged Original Creditor who

actually provided funds to the alleged Debtor/Gbligor, if different from alleged Debt
CoIlector/Creditor?
lnterrogatory If Debt Collector/Creditor is dilYerent from alleged Original
Creditor, does Debt Collector/Creditor have a bona tide affidavit of assignment that
possesses the signature of the alleged Dehtor/Obligor as an assignment for entering into
alleged original contract between alleged Original Creditor and alleged Debtor/Obligor?
lnterrogatory Did Wachovia Mortgage, FSB purchase this alleged account horn
the alleged Original Creclitor?
lnterrogatory ls Waehovia Mortgage, FSB the holder of the original conformed
note/security instrtnnent?
loterrogatory Has the alleged Debt CollectorfCreditor provided alleged
Debtorf()bligor With the requisite verification of the alleged debt as required by the Fair
chr Collection Pracrices Act? ........................................................................
lnterrogatory Are their any stocks, bonds, or securities attached to the contract
between Wachovia Mortgage, FSB and the alleged obligor?
lnterrogatory Does there exist a veri§able, bona lide, original conformed
commercial instrument 07073545 and 07073546 between alleged Debt Collectorf€reditor
and alleged Debtor/Obligor containing alleged Debtor!()bligor’s bona tide
signature? .......................................................

 

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Case 2'10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 47 of 58 Page|D 50

27. Interrogatory Does there exist, verifiable evidence of an exchange of a benefit or
detriment between Debt ColIeetor/Creditoz' and alleged Debtor/Obliger?

...................................................................................................................................................

28. Interregatory Is this account, 07873545 and 07073546, connected to any Trust
agreements?
29. lnterrogatory ls this account, 970'73 545 and 87073546,1`:1 any way connected to

....................................................................................................................................................

so. Interrogatory If the transfer of rights regarding this alleged account Was by
assignment, if so was there consideration afforded to the debtor/obligor?

....................................................................................................................................................

`%@lmzl.%vllel&

Johnn L Bul!ock
3336 Durford Wood Cove
Memphis, Tennessee 38128
9Gl-3 86-1788

 

Certificate of Service

World Savings Bank, FSB 4101 Wisemaa Boulevard,. San Antonjo, ’IX 78251, to Wachovia
Mertgage, FSB located at 4101 Wiseman Boulevard, San Antonio, TX 78251 end THE CITY
OF MEMPHIS, and their Agents Lioebarger Goggan Blair &, Sampson, LLP, One Commerce
Square, 40 South Maiu Street, Suite 2259, Memphis, Tennessee 381{)3, C/O Pamela Pope
Johnson and Melissa Palo, this 19th day of May, ZOIO. '

§@lm low

Jolmn L Bullock
333 6 Dur'ford Wood Cove
Memphis, T`ennessee 38128
901-386-1788

 

 

 

CaSe 2:10-cv-02482_-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 48 of 58 Page|D 51

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STATE 0§“ TENNESSEE oocKsT NUMB§;R
seen JUDICML ms'rRlC‘z‘ ,
CHAN<:§:RY mem A'r SUMMONS CH~. CO'~ C)_C( i(o"i
MEMPHIS
oa£endant %\§\or\¢\ $_o.vin¢'a,$ Bw~.l\, 3553

§§aintiff job fl L. . ,BL\MO(-)[C\ wmcj,g\};o\ m¢r{» .“ gsa
swim v.'w. Pres£<£& $i°:» ct Rs£~_d €.f‘

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TO: {NAME A.ND ADURESS OF DEFEHDANT}
W h m lift Mothod of Service:
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cy/Q §Q,n% 6a VSKJQJ i'Q»$i G,ni- §Shelhy County Sheriff
[;r l Comm. O'f Insurance*
mp C' pmm/cl Q)r Ck §Soc:etary of St:ate*
L{lG\ wl §so,mq\r; Bex&i@ vtwf" gear of county sherifs*
l:fPrivata Proc:ess Server

59\¢'$ Hni'om'° jT`é big 2/5 l mother

*Atta<:h Requ,i.reci Fses

 

You are summoned to defend a civil action filed against you in the Cizancery Court of Shelby County, Tennesseel Your
asswe: to this action must be made within thirty (30)' days from the date this summons is served upon yns‘ You must
file your answer with the Clerk of tile Court and send a copy to the plaintiffs attorney at the address listed below. If
you fail to defend this action within thirty (30) days of service, judgment by default can be rendered against you for

the re§ief sought in the complaint

 

(Neme, address & telephone number}

Attorney for plaintiff or plaintiff if filing Pro Se: w
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TO Tl~££ SHERIFF: Came to hand §§ §§
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day of J.~-LZO §§ h
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sheriff "'f>' §§
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aff § ?-`
.i§;*`~ g
**Submit. one original and one copy for each defendant to be ssrved. r;;;*'--g ~»
1'\¢

§ Questions regarding this summons and the attached documents should be

addressed to the Attorney listed above.
é>For ADA assistance onlz, call£901)379*?895

eo/le/o') _ §

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Case 2:10-cv-02482-SHI\/|-ch Document 1-1

Filed 06/24/10 Page 49 of 58 Page|D 52

RE'I`URN ON SERVICE OF SU`MMONS

 

l hereby return this summers as follows: (`Name of Party Se:‘ved)

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.. l,,.»¢,.f._ 1 J

 

 

 

 

 

 

 

 

m Served " i s 7 §§ NotFoe:_td. . l f … ,
o l\iot Ser_;yed _, 'l ' _ ‘ .' § Glher
l n ` . _ l t . . v k . lay
DATE OF RETURN: T§xis WW_W day of ,
20 _ Sheri£`f;’or other authorized person to Ser“ve process

 

RETURN ON SERVICE OF S`_UMMONS BY MAlL 7

 

 

 

 

 

 

l hereby certify and return that on the day of , 20 , f sent, poste§e prepa§`d, by|:'egiste:ed return
receipt mail or certified return receipt mailf, a certified copy of the summons and a copy off the complaint iri case CH» 4 _ to
the defendant . On the day of ’ ` - l , 29___~, l received the return
receipt which had been signed by on the daly of` ` 7 ' ` , ZGMW

 

 

 

The return receipt is attached to this original summoos to be filed by the Cha.ncery Coort Clerk & Mes%er.

 

Sworn to and subscribed before me on this day of
_.~..___.._s low
S§gneture of Notary Pu§)lic or Deputy Court Clerk

My Commission Expires:

Sigoemre ofp§aintift`, plaintiffs attorney or other person
authorized by statute to serve process

 

 

NGTICE OF PERSONAL
PROPERTY EXEMPTION

 

TO THE DBFENDANT{S):

Terzoessee law provides a four thousand dollar ($4,900.00}
debtor’s equity interest personal property exemption from execution or
seizure to satisfy s judgment :lt`a judgment should be entered against
you in this action and you Wi-sh to claim property as exempt you most
tile a written list, under oath, of the items you wish to claim as exempt
with the clerk of the court The list may he filed at any time and may
be changed by you thereafter as necessary; however, untess it is filed
before the judgment becomes final, it wi§l not be effective as to any
execution or gomishmeot issued prior to the filing of the §ist. Certain
items are automatically exempt by law and do not need to be §isted;
these §ncfede items of necessary wearing apparel (clothing) for yourself
and your family and trunks or other receptacles necessary to contain
such apparel, family portraizs, the family Bi§)§e, and Schoof hooks
S§iould any ot`these items he Seized you would have the rith to
recover them lfyou do not understood your exemptloo right or how to
exercise lt, you may W§sh to seek the counsel ofa lawyers

Ma§l l§st to: Cierl< & Master
bill Adams _Ave.
Room 308
Memph§s, TN 38103

Pleese state file number orr list

ATTACH
RETURN
RECEI`PT
HERE
(_IF APPLICABLE)

 

 

CERTIFICAT§ON (H<` APPLECA§A

 
 

 

l, thon R. Settle, Cler§< & hiester of the Clzrmcery Cocrt m the State
of"§“ermessee, Sirelby County, do certify this to be a true and correct
copy ofthe original summons issued jo this case

 

 

Dewuo R. S-.»

 

By:

 

 

 

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HQ Llaison
S-tate of fennessee
Department of Sfate
Givis¥orz of Buslness Sarvices
312 Rosa L $’az'ks Ave
. SEz F|c>orwm. R. Snodgrasa Tuwar`
Nashvilld, Tennessaa 3?243
§£Z§LZQLQ 79890961]000£14?32890
Dnte Cert¥fied ?~.‘um§)er

Pa:e Ne: §H;;Q;QQ;L;
wpanv= meacle MGRTGAGE, Fse '

Name:
Agem{POE: C:'O NJARY C REEDER

Addruss: 416? W|SEMAN BLVD
SAN ANTONZO, TX ?8251

' Caumru:

RE; JCH¥‘J !_ BULL€§!L"K

VS; WOHLD SAVENGS BANK, ET AL=

Nozlce of Servlcu

_ The seemed summons and ach?\ments are §esel:y umc|aiiy served upon you by the Cfi§ca uf the Te:meas¢a
Seos‘etary of State pursuam to Tennessee Law. P\uase refer to me summaas and al:achmeu:s for demlla ooncem»
ing the lawwit filed agaiz;st you. if you have any wesifc:ns. phaase contact the clud< ofthe court widch issued the
summons. You can emma fha caurt‘s tefe;)hoae summer izy ca£ilng inf:>m»ation {area cods} 555-1212. The name of
the court and county where fha oourz is wastes w§l be on the atte<:fwd summons.

753 summons will eithee‘ tail you a mud dme and time ai which you must appea: to defend yourself oz zell you
she number of days im the day you are served wirisz which you must §¥e m answer upon she plaiutiff's at£omey.
Faiiure to appear in must az the sims specifie:f orfai¢ure to answer the summa thin fha given Sme could rea§itm
a judgement by default wing rendered against yca far relief sought in 319 Zewsuit.

T“ha $ecxeiary ofS¥a:e*e foir;e canno'r give you legef adv§cfz. if you need }egai ad‘/iee. ;>ié*a$e ®nsuit a private
ezttcu'ne;.fl

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endssures- Tz‘s Haz§eu
inltiai: ‘MM'§§ ___ MW;W__“_______‘ Secre§ary uf Siate

 

 

SS~‘¥Z% (Rz§v. 3/3?} 7 RDA 1093

 

 

 

 

 

 

 

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Case 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 52 of 58 Page|D 55

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5§3{€ Of T€H¥TESS€€
Depar£ment of State

Divlslon of Busz`ness Servlces
3‘¥2 Rosa ¥_ Park$ Ave
Sllz Floer Wm. R. Snodgrass Tuwer
Naslwille. Tennessae 3?243

§§ 7[2010 ?009096000011473289W
Case Number: CH-lQ_{}Ql§»l D&‘€e

 

 

Cartifad Number

HON. DEWUN R. S££TTLE

SHELBY COUNTY»CHANCEHY COUR“§'
140 A§JAMS ST.,RM.SOS

MEMPH!S, T|\Z 38103

RE: jOHN §_ BUL.LOC§<

VS: WGHL§J SAVlNGS BANK, ET AL.

Dear Clerk:

Enciosed ara the following papers in the above styled casa:

53 Originaf Summons
§ Affidavlt and Endmsement
§§ Hagistered or Certified l-`letum Recei;)t signed by:
:§ Flsgistered cr Certif§ed lanes returned undeliversd wille notation:
Sim:areiy:
Tre Hargatt
enclosures
meezass; .'z$v__z_{\,§gl ' 3

CC:

SS-4210lRev. ¥2/96) HDA ?¥!C)K ¥{303

 

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Case 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 53 of 58 Page|D 56

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AFF¥DAVIT
and
ENDORSEMEN?
8!71'201 0
E>ate
ZQQ,S!Q$BQ§JQ; 1473;&@
Cas;e Nurnber: __(;_HM.AMQ:'Q_§_;__]:(§;; Certi`fiod Numt§er

RE: JOHN E BULLC)CK

\/S: WOR£.D SAVFNGS BANK, E't" AE..

 

1 DARLENE LAWRENCE , having been duly authorized by "i“re Hargett, $ecretar“y of State
of Tennesseo, do hereby make oath on his behatf and under authorization as fotlows:

?hat on IM§§LMMM , l received item the plaintiff the originai
and certified copies of the Sumrnons and Cornpla:’rzts issued against the defendant
* u'..-L. § 1 i

  

whose address és:

4101 WZSEMAN BLVD, SAN ANTONIO, TX 782§1

and that on W M 2 , l mailed by registered or certified return-
receipt mail the certified copies of the Summons and Comp!eint to the defendant at the above ad~

dress together with written notice that sen/ice Was so made. l further make oath that the tatum
receipt for the registered or certified letter Was received at my office in Nashvi¥ie, Tennessee, on

 

 

    

 

MMMHM . and returned to SHELBY COUN'?'Y~CHANCERY COURT
of MEMP§~i!-S ,Tennessee on MM
Tro tiargett
' Seoretary of State z
3 § § § § § ij
ubscnt)od and swoz'n to before mo, by _ £§£z/gf .c? 124/de §
this rn~l day of .luNE§ 20sz
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S'I`ATE ()F TENNESSEE DOCKE'¥` NUI\“IBER
39th J'UBICIAL DISTRICT .,__ ¢ '_
CHANCERY COUR'I` AT SUN!IVIONS CH~ f 0 § ?( co {
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Plaintiff easement we d d 5 mvmg»; -@ omk_ yr_» 5- 3

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E‘O: {NAME AI\RJ ADI}RESS OF DEFENDANT}

wofsa -Sg\`!; n § g 5 oxan FSE) mcertified Mail
Lf wl Wi'§Q/mq;\ n vi lQ,vc-.rc‘

1 Shelby County Shex:iff
~S<i\n Hn~ton§o;rx 7@2-5§ §

Me 12th of Sez:viz:e:

Com. 0£ In$urance*

Secretary of Sta.ta*

Oui: of County Sher:i.ff*
[:]Private Proc:ess Server
EOther

*Attach Raqniraci Fees

 

¥ou are summoned to defend a civil action filed against you in the Chancery Court of Shelby County, Tennessee. You.r
answer to this action must be made within thirty {30) days from the date this summons is served upon youa You must
fite your answer with the C¥erk of the Court and send a copy to the p¥aintiff's attorney at the address iisted below. If
you fail to defend this action within thirty (30) days of service, judgment by default can be rendered against you for
the relief sought in the comp¥aiet.

 

Are fn lien ric'ff'ff‘li P sex
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333 (0 D ¢M' _QBN\ md 04 COVQ" Dewun R. Se tfe, Ciez‘k and Master
memphis 9 conno$$%'?$l'l? By: /V/)c<,¢¢~

Deputy Clez' Master

 

 

 

 

 

 

 

 

 

 

 

TO THE SHERIFF: Cam'e to hand
CI)
day of § §§
;Z:§-:" <»‘e__ Mm
Shez~iff _~§"'“ §§

no »'\.»

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“§`§; .\,"
**Submit one original and one copy for each defendant to be served c,,;@;~-- §§ "

EM- own

§ Questions regarding this summons and the attached documez§§`"st;\§ulc_i be
addressed to the Attoz:ney listed above. :' -`

é>Fo:: ADA assistance onlz, call(901)3?9-7895

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RETURN ON SERVICE GF SU`MMONS

 

[ hereby refers this summons as io§iows: {Nso'ie of Party Served)

 

 

o Served o Not!"otiod
o NotServed o Othcr

 

 

By:

DAT'E OF RETURN: This day of ,
20 . Slieri-fil"or other authorized person to serve process

 

 

RETURN ()N SERV{CE OF` S`UMMONS SY MAIL

 

1 hereby certify and return that on tire day of , 20 , l sent, postage prepaid-, by registered return

receipt mail or certified returri receipt meil, a certified copy of the summers and a copy of the complaint in case CH- to

the defendant . 0n the day of , ZOMM, E received the return

receipt3 which had been signed by on the ___W day oi`mwm , ZGW
"I“he return receipt is attached to this original summons to be filed by the Chancery Court Clerk & lviaster.

 

 

Sworn to and subscribed before me on this day of Signature of olai-ntifi`, piaintiff’ s attorney or other person
, 20 . authorized cy Statote to serve process

Signatore of Notary Publie or Depoty Court Clcrk

 

- My Comrriissioe Expires:
NOTICE ()F PERSONAL
PROPERTY EXEMPTION
'E`G THE DEFBNDAN'I`(S):

”I`ermessee law provides a four thousand doliar (S¢,UOD.{)O)
debtor’s equity interest personal property exemption from execution or
Seizure to satisfy a judgment if a judgment should be entered against
you in this action aod you Wisl_i-to ciaim property as exempt, you must
file a written §ist, ender'oath, of the items you wish to claim as excm;)t
with the clerk of the court. The list may be fifecl at any time and may
tie changed §Jy you thereafter as necessary; however, unless it is filed
before the judgment becomes iinal, it will riot be eiiective as to any
execution or garnishment issued prior to the iiiiog o€the list Certeio
items are automatically exempt by law and do riot need to be listed; ATTACH
these iociode items of necessary wearing apparel {clothing) for yourself RETURN
and your family and trunks or other receptec§es necessary to contain
such apparel, family p'ortra,its, the family Bible, and school books RECEIPT
Shou§d any of these items oe seized yoo would have the right to HERE
recover them. lf you do not understand your exemption right or how to (`IF APPLICABLE)
exercise it, you may wish to seek the counsel of` a iawyer.

 

 

i\=€aii iist to: Clerk & Master
§4(} Adoms Ave,
Room 388
l\/§eropltis, 'l"N 38103

 

P§ease state fi§e numeer on list

 

l, Dewun R. Sett§e, Clerk 3a Mester of the Cltaocery Court iii the Statc
ofTenoessee, Shelby Courity, do certify this to be a true and correct
copy of the original summons issued in this case

 

 

 

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Case 2:10-cv-02482-SHI\/|-ch Document 1-1 Filed 06/24/10 Page 56 of 58 Page|D 59

 

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Depar{'ment of Stafe

Divisi€>n of Bus`:ness Services
312 Rosa L Parks Ave
Bih F;|c)€)r Wm. R. Srzodgrasa Tower
Nas§‘\vii|e, Tennessee 3?243

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ease Numven “-"»~"-m------~CH“ 1069 16_ 1 Date Ceriifad Numbm

HGN. QEWUN F€. SE'E“?¥~E

SHELBY COUNTY»CHANC§RY COURT
?40 ADAMS ST..§?M.ZZOB

MEM?H|S. TN 38103

HE: JOHN L. BULLOCK
VS: \NORL{.`J SA"J|NGS BA¥\E¥<, §~'SB

Dear Cierk:

Em:fosed are the fo|!owing papsrs in the above styled case:

Origina| Summons
§§ At¢idavi: and indorsement
§§ Registeresi 01 manifin Ratum Receipt signed by:

;W§E €`N¢hOS_E_D__C/’_ifi_f_>'___

§ Registered or Cartified letter returned undelivered With notation:

Sincefeiy;

Tre Hargeu

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CC:

SS¢¢$Z¥O {Rev. 12596} RDA N<J. 1003

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AFF|DAVE?
and
ENDORSEMEN?
61‘7!2610
= Date
?QQB Q$§OHQ"Q;Q;;&Z$; §_2_5
Case Number: §§_.ml_g_:_g_g“ 1_5_.,_ l Cer§it"xed Number

F?E: JOHN tv BULLOCK

VS: WOR§_B SAVINGS BANK, FSB

1 DAHLENE LA-WRENCE , having been duly authorized by Tre Hazgett, Secretary of Sta!e
of Teaeeesee, do hereby ma§<e oath de his behalf and under authorization as foftows:

That en Tees<:$ay, May 25 2910 , f received from the pieintiff the originai
and certified copies of me Summens end Cornpfeints issued against the defendant

 

WORLD §_AVINGS BANK. FS§

whose address lex
4101 WISEMAN BLVEJ.. SAN A¥\ETO§\¥IO, `D< 78251

and that en W§g§g§gg¥¢ M§¥ ZSM , l maiied by registered of certified return-
receipt me§E the certified copies of the Summdns and Cdmptaint to the defendant at the above ad-

dress together with written notice that service was ed made iftz:ther make oath that the return
receipt for the registered or certified tetter'was received at my office in Neehvi|le, Tenneeeee. de

Mggg§¥‘ Jgng QZ¢ zgig , and retumed to SHELBY COUNTY»~CHANCERY COURT
et MENEPHES , Tenneseee ce mMM

jaw

`!”re Hergett
Secretary of S te

Subscrit)ed and sworn te before me, 55 ad ft
by \»/
thie ?TH day at ..YUNE_ z 2{)1£)

NQTARY PUBL!C ]

hay commission expire$ 9~8»2013

   
  

` ,;.‘ 53-4201 greerc zzee;

 

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SENDER: COMPLETE TH!S SHCT!ON

l Compiete items t, 2, and 3. Aiso complete
item 4 if Ftastricted Detivery is <:ieeiredl

l Pn'nt your name and address on the reverse
so that we can return the card to you.

l Attec:h this card to-the back of the maiipiece,
or on the front if space permits.

 

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COMPLETE THJ'S SEC'NON ON DELIVEHY
l Signawz“e

 

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B, R,é'c t C. Dafe of Ceiiv

C] Acidzes
D. is dewey address deem mm item 17 ill Yes

 

 

 

 

 

 

 

 

 

' 1‘ wide Address°d fm t thES, enter det§v address below: 51 NO
JW’N 0 1 2010
WORLD SAVINGS BANK, FSB
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- PS Fotm 3811, February 2004

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